         Case 2:05-cr-00231-JCC          Document 1269         Filed 03/24/10     Page 1 of 2




 1

 2

 3

 4

 5

 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. CR05-231-JCC
 9
                                   Plaintiff,
10
            v.                                            SUMMARY REPORT OF
11                                                        U.S. MAGISTRATE JUDGE AS
12   JULIE LEE ANDERSON,                                  TO ALLEGED VIOLATIONS
                                                          OF SUPERVISED RELEASE
13                                 Defendant.

14
            An initial hearing on a petition for violation of supervised release was held before the
15
     undersigned Magistrate Judge on March 24, 2010. The United States was represented by
16
     Assistant United States Attorney Ye-Ting Woo, and the defendant by Michele Shaw.
17
            The defendant had been charged and convicted of Conspiracy to Distribute Marijuana,
18
     in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(D) and 846. On or about April 21, 2006,
19
     defendant was sentenced by the Honorable John C. Coughenour, to a term of thirty-eight (38)
20
     days in custody, to be followed by three (3) years of supervised release.
21
            The conditions of supervised release included the requirements that the defendant
22
     comply with all local, state, and federal laws, and with the standard conditions. Special
23
     conditions imposed included, but were not limited to, participation in a substance abuse
24
     program, financial disclosure, search, alcohol abstinence, no association with known outlaw
25
     motorcycle gang members, and 90 days electronic home monitoring.
26


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
           Case 2:05-cr-00231-JCC        Document 1269        Filed 03/24/10      Page 2 of 2




 1           In a Petition for Warrant or Summons dated February 24, 2010, U.S. Probation Officer

 2   Jerrod Akins asserted the following violation by defendant of the conditions of her supervised

 3   release:

 4           (1)    Failing to report to the U.S. Probation Office as instructed on January 20, 2010,

 5                  January 21, 2010, and February 19, 2010, in violation of standard condition No.

 6                  2.

 7           The defendant was advised of her rights, acknowledged those rights, and admitted to

 8   alleged violation 1.

 9           I therefore recommend that the Court find the defendant to have violated the terms and

10   conditions of her supervised release as to violation 1 and that the Court conduct a hearing

11   limited to disposition. A disposition hearing on these violations has been set before the

12   Honorable John C. Coughenour on April 2, 2010 at 11:00 a.m.

13           Pending a final determination by the Court, the defendant has been released, subject to

14   supervision.

15                  DATED this 24th day of March, 2010.

16

17
                                                  AJAMES P. DONOHUE
18                                                 United States Magistrate Judge

19

20
     cc:     District Judge:               Honorable John C. Coughenour
21
             AUSA:                         Ye-Ting Yoo
22           Defendant’s attorney:         Michele Shaw
             Probation officer:            Jerrod Akins
23

24

25

26


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
